






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00203-CR

NO. 03-07-00204-CR






Lori Ann Reed, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT

NOS. 59141 &amp; 59142, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING



							

				M E M O R A N D U M   O P I N I O N


		After entering guilty pleas with no plea agreement, appellant Lori Reed was convicted
of the offenses of delivery of a controlled substance, to wit, methamphetamine in an amount less than
one gram, constituting a state jail felony, and in an amount more than one gram and less than four
grams, constituting a second degree felony.  See Tex. Health &amp; Safety Code Ann. §&nbsp;481.112
(West&nbsp;2003).

		Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are
not&nbsp;arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974). 
Appellant received a copy of counsel's brief and was advised of her right to examine the appellate
record and to file a pro se brief.

		By letter to this Court, appellant has filed a response challenging the State's
allegations.  She, in effect, asserts that she received ineffective assistance of counsel and that her
counsel did not represent her appropriately or adequately.  She also asserts that she assisted in
helping law enforcement make controlled buys, that she has suffered retaliation, and that she was
never found in actual possession of any illegal drugs.  She also contests the paperwork on which she
was booked and charged and to which she pleaded guilty.

		We have independently examined the record as well as counsel's brief, the State's
brief in response, and appellant's submission.  We find nothing in the record that might arguably
support an appeal.  After reviewing the record, counsel's brief, and appellant's pro se response, we
agree with counsel that the appeal is without merit.

		We note that counsel has the responsibility to advise appellant that she may file
a&nbsp;petition for discretionary review by the Texas Court of Criminal Appeals.  Ex parte Owens,
206&nbsp;S.W.3d 670 (Tex. Crim. App. 2006).  Likewise, this Court advises appellant that she may file
a petition for discretionary review pursuant to Tex. R. App. P. 66.

		Accordingly, counsel's motion to withdraw is granted and the trial court's judgments
are affirmed.




					__________________________________________

					Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Affirmed

Filed:   August 3, 2007

Do not Publish


